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 5
   Attorneys for Defendant
 6 HUSH PUPPIES RETAIL, INC.,
   dba. HUSH PUPPIES & FAMILY
 7 # 614
 8
 9                       UNITED STATES DISTRICT COURT
10                      EASTERN DISTRICT OF CALIFORNIA
11
12 GARY PALMER,                                Case No. CIV.S-05-1935 MCE GGH
                        Plaintiff,
13             vs.
14                                             The Hon. Morrison C. England, Jr.
15 CHELSEA FINANCING PARTNERSHIP,              STIPULATION AND ORDER FOR
     LP; AEROGROUP RETAIL HOLDINGS,            EXTENSION OF TIME TO
16   INC dba AEROSOLES #817; PACIFIC           ANSWER OR OTHERWISE
     BRANDS RETAIL GROUP I, INC. dba           RESPOND
17   BALBOA BEACH COMPANY; BEBE
     STORES, INC. dba BEBE STORE #719;
18   BIG DOG USA, INC. dba BIG DOG
19   SPORTSWEAR #209; RETAIL BRAND
     ALLIANCE, INC. dba BROOKS
20   BROTHERS; SKETCHER USA, INC. dba
     SKETCHER'S USA #1215; THE
21   WILLIAM CARTER COMPANY dba
     CARTER'S CHILDRENWEAR #659;
22   RETAIL BRAND ALLIANCE, INC. dba
23   CASUAL CORNER AND PETITE
     SOPHISTICATE OUTLET; CLAIRE'S
24   BOUTIQUES, INC. dba CLAIRE'S
     BOUTIQUES; THE DRESS BARN, INC.
25   dba DRESSBARN #2860; EDDIE
     BAUER, INC. dba EDDIE BAUER;
26   BROWN GROUP RETAIL, INC. dba
27   FACTORY BRAND SHOES; LCUT
     RETAIL STORES dba FABERWARE;
28   FOSSIL STORES I, INC. dba FOSSIL

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 1 STORE; PHILLIPS-VAN HEUSEN
     CORPORATION dba GEOFFREY
 2 BEENE #18; GAP (TEXAS) L.P. dba
     GAP; KIM DONGMOON dba
 3 GILCHRIST GALLERY; GLASSWARE
 4 HOUSE, INC. dba GLASSWARE
     HOUSE; BEAR CREEK STORES, INC.
 5   dba HARRY AND DAVID; THE IZOD
     CORPORATION dba IZOD #727; K B
 6   TOY OF CALIFORNIA, INC. dba K B
     TOY LIQUIDATORS #4280; JONES
 7   RETAIL CORP. dba KASPER;THE
 8   KITCHEN COLLECTION dba KITCHEN
     COLLECTION FACTORY OUTLET;
 9   COLE SFC, LLC dba KENNETH COLE;
     SARAMAR, LLC dba L' EGGS HANES
10   BALI PLAYTEX #126; HOUSEWARES
     STORES OF CALIFORNIA, INC. dba LE
11   GOURMET CHEF; HUB
12   DISTRIBUTING, INC. dba LEVI'S
     OUTLET BY MOST; TOO, INC. dba
13   LIMITED TOO; LITTLE ME RETAIL
     STORES OF CAMARILLO,
14   CALIFORNIA LLC dba LITTLE ME; L.C.
     FOOTWEAR, LLC dba LIZ
15   CLAIBORNE; MOTHERS WORK, INC.
16   dba MOTHERHOOD MATERNITY
     #1652; BROWN GROUP RETAIL, INC.
17   dba NATURALIZER SHOES; NAUTICA
     RETAIL USA, INC. dba NAUTICA;
18   NIKE RETAIL SERVICES, INC. dba
     NIKE FACTORY OUTLET; NINE WEST
19
     GROUP, INC. dba NINE WEST OUTLET
20   STORE #2516; OSHKOSH B' GOSH
     RETAIL, INC. dba OSHKOSH B' GOSH
21   #135; PACIFIC SUNWEAR STORES,
     CORP. dba PACIFIC SUNWEAR;
22   MAGIFQUE PERFUME AND
     COSMETICS, INC. dba PERFUMANIA;
23
     PUMA NORTH AMERICA, INC. dba
24   PUMA; ROCKY MOUNTAIN
     CHOCOLATE FACTORY, INC. dba
25   ROCKY MOUNTIAN CHOCOLATE
     FACTORY; RUE21, INC. dba RUE 21;
26   SCCA, LLC dba SAKS OFF FIFTH
27   AVENUE; SAMSONITE COMPANY
     STORES, INC. dba SAMSONITE
28   COMPANY STORE; SARAMAR, LLC

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 1 dba SOCKS GALORE & MORE #85;
     D.S.A. ENTERPRISES, INC. dba SPORTS
 2 FEVER; STRIDE RITE CHILDREN'S
     GROUP, INC. dba STRIDE RITE
 3 OUTLET #6035; STYLES FOR LESS,
 4 INC. dba STYLES FOR LESS;
     SUNGLASS HUT TRADING
 5   CORPORATION dba SUNGLASS HUT
     #2963; THE BOMBAY COMPANY, INC.
 6   dba THE BOMBAY COMPANY #176;
     JOCKEY INTERNATIONAL GLOBAL,
 7   INC. dba THE JOCKEY STORE; PA
 8   ACQUISITION CORP. dba THE PAPER
     OUTLET; TOMMY HILLFIGER
 9   RETAIL, LLC dba TOMMY HILLFIGER;
     TOTES ISOTONER CORPORATION dba
10   TOTES FACTORY WORLD; ULTRA
     STORES, INC. dba ULTRA DIAMOND
11   OUTLET; PHILLIPS-VAN HEUSEN
12   CORPORATION dba VAN HEUSEN
     #235; VANS, INC. dba VANS, INC.;
13   VITAMIN WORLD, INC. dba VITAMIN
     WORLD INC. #4912; WATERFORD
14   WEDGWOOD USA, INC. dba
     WATERFORD WEDGWOOD;
15   WELCOME HOME, INC. dba
16   WELCOME HOME; ROSEDALE
     WILSONS, INC. dba WILSON'S
17   LEATHER; ZUMIEZ, INC. dba ZUMIEZ
     #243; PVH CK STORES, INC. dba
18   CALVIN KLEIN; HUSH PUPPIES
     RETAIL, INC. dba HUSH PUPPIES &
19
     FAMILY #614; GUESS? RETAIL, INC.
20   dba GUESS; JONES RETAIL CORP. dba
     EASY SPIRIT; ZALE DELAWARE, INC.
21   dba ZALES; D.G. SMITH
     ENTERPRISES, INC. dba TACO BELL;
22   DAYJOYE ENTERPRISES, INC. dba
     MRS. FIELDS; DAYJOYCE
23
     ENTERPRISES INC. dba PRETZEL
24   TIME; DAYJOYCE ENTERPRISES INC.
     dba TCBY.
25
                      Defendants.
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 1                                    STIPULATION
 2
 3               1.     WHEREAS Plaintiff served the Complaint in this action on
 4 Defendants on or about October 13, 2005;
 5
 6               2.     WHEREAS December 9, 2005 is the date by which Defendants
 7 must file their Answer or otherwise respond to Plaintiff's Complaint;
 8
 9               3.     WHEREAS good cause exists for an extension because
10 Defendants need additional time to investigate adequately the claims alleged in this
11 matter, as well as all potential defenses and/or counterclaims to those claims, and
12 the parties require additional time to discuss possible settlement of claims;
13
14               4.     WHEREAS Plaintiff does not oppose and has agreed to
15 Defendants' request that it may have through and including December 30, 2005 to
16 answer or otherwise respond to Plaintiff's Complaint;
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 1               NOW, THEREFORE, IT IS HEREBY STIPULATED by and between
 2 the parties, through their counsel, that this Court should extend the deadline for
 3 Defendants to answer or otherwise respond to Plaintiff's Complaint through and
 4 including the date of December 30, 2005.
 5
 6 DATED: December 8, 2005
 7                                 LAW OFFICES OF LYNN HUBBARD
 8
 9                                 By     /s/ Lynn Hubbard
10                                                       Lynn Hubbard
                                                      Attorneys for Plaintiff
11                                                      GARY PALMER
12 DATED: December 8, 2005
13                                 SHEPPARD MULLIN RICHTER & HAMPTON LLP
14
15                                 By     /s/ Lisa A. Hill
16                                                       William V. Whelan
                                                            Lisa A. Hill
17                                                    Attorneys for Defendant
18                                                        HUSH PUPPIES .

19
                                          ORDER
20
                 For good cause shown, the stipulated request to extend time for
21
     Defendants to answer or otherwise respond to Plaintiff's Complaint is hereby
22
     granted. IT IS SO ORDERED.
23
24
     Dated: December 14, 2005
25
                                        __________________________________
26                                      MORRISON C. ENGLAND, JR
                                        UNITED STATES DISTRICT JUDGE
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